
MR. CHIEF JUSTICE PRINGLE
delivered the opinion of the Court.
This matter arises as a result of a complaint filed against James E. Algeo with the Grievance Committee of the Supreme Court of Colorado. A formal hearing was held in the above matter before a hearings committee, and the Respondent was present in person at the hearing.
After the hearing, the Committee made Findings of Fact and recommended a public reprimand. This Court determined that a suspension would be more appropriate in the *405matter herein and advised Mr. Algeo of that fact, giving him time to file exceptions to the proposed suspension. No exceptions were filed.
The Committee found that Mr. Algeo was engaged by Employers Mutual Casualty Company to enforce a claim which it had against one Glenn R. Seber. The Respondent brought an action on this claim and entered into an agreement with Seber in which Seber agreed to pay monthly payments. The Respondent received several payments from Mr. Seber in the approximate total amount of $180 for which he did not account. Mr. Algeo made no explanation of his failure to account. This failure to account to his client resulted in Committee’s finding that the Respondent was guilty of conduct contrary to the highest standards of morality and justice. We agree.
We have constantly warned attorneys that a failure to turn over to clients money which belonged to clients would result in severe penalties. We apply that rule here and we hereby suspend James E. Algeo from the practice of law for a period of 60 days beginning April 10, 1974.
It is ordered that the Respondent be assessed the costs of this proceeding, which are in the amount of $338.29 to be paid to the Clerk of this Court within 60 days.
